Case 1:16-cv-00041-CFC Document 168 Filed 12/04/18 Page 1 of 9 PagelD #: 3563

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

F’REAL FOODS, LLC, and
RICH PRODUCTS CORPORATION,

Plaintiff,
C.A. No. 16-41 (CFC)
v. CONSOLIDATED
HAMILTON BEACH BRANDS, INC.,
HERSHEY CREAMERY COMPANY and
PAUL MILLS d/b/a MILLS BROTHERS
MARKETS,

Defendants.

SUPPLEMENTAL AND AMENDED SCHEDULING ORDER [PATENT CASE]
ah PDesembar
This 34 day of Nexember 2018, the Court having conducted a supplemental Rule 16(b)
scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined after
discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation,
or binding arbitration:
IT IS ORDERED that:

1. Rule 26(a)(1) Initial Disclosures. The parties served their initial disclosures

required by Federal Rule of Civil Procedure 26(a)(1) in May 2016.

2. Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings, were due on or before May 31, 2017.
3. Discovery.
a. Discovery Cut Off. Fact discovery was completed on July 13, 2018.
b. Document Production. Document production was completed on July 13,

2018.
Case 1:16-cv-00041-CFC Document 168 Filed 12/04/18 Page 2 of 9 PagelD #: 3564

c. Interrogatories. The discovery limits set forth in the Federal Rules of Civil
Procedure and Local Rules with respect to interrogatories shall govern this matter.
d. Depositions.

i. Limitation on Hours for Deposition Discovery. The discovery
limits set forth in the Federal Rules of Civil Procedure and Local Rules with respect to
depositions shall govern this matter.

ii. Location of Depositions. Any party or representative (officer,
director, or managing agent) of a party filing a civil action in this district court must ordinarily be
required, upon request, to submit to a deposition at a place designated within this district.
Exceptions to this general rule may be made by order of the Court or by agreement of the parties.
A defendant who becomes a counterclaimant, cross-claimant, or third-party plaintiff shall be
considered as having filed an action in this Court for the purpose of this provision.

4. Application to Court for Protective Order. The parties have agreed that the
Stipulated Protective Order previously entered in C.A. No. 16-41 (D.I. 56) should govern this
consolidated action.

5. Disputes Relating to Discovery Matters and Protective Orders. Should counsel
find they are unable to resolve a dispute relating to a discovery matter or protective order, the
parties shall contact the Court’s Case Manager to schedule an in-person conference/argument.
Unless otherwise ordered, by no later than 48 hours prior to the conference/argument, the party
seeking relief shall file with the Court a letter, not to exceed three pages, outlining the issues in
dispute and the party’s position on those issues. The party shall submit as attachments to its letter
(1) an averment of counsel that the parties made a reasonable effort to resolve the dispute and

that such effort included oral communication that involved Delaware counsel for the parties, and
Case 1:16-cv-00041-CFC Document 168 Filed 12/04/18 Page 3 of 9 PagelD #: 3565

(2) a draft order for the Court’s signature which identifies with specificity the relief sought by the
party. By no later than 24 hours prior to the conference/argument, any party opposing the
application for relief may file a letter, not to exceed three pages, outlining that party’s reasons for
its opposition. Two courtesy copies of parties’ letters and attachments must be provided to the
Court within one hour of e-filing the document(s). If a motion concerning a discovery matter or
protective order is filed without leave of the Court, it will be denied without prejudice to the
moving party’s right to bring the dispute to the Court through the procedures set forth in this
paragraph.

6. Papers Filed Under Seal. When filing papers under seal, counsel shall deliver to
the Clerk an original and one copy of the papers. A redacted version of any sealed document
shall be filed electronically within seven days of the filing of the sealed document.

7. Courtesy Copies. The parties shall provide to the Court two courtesy copies of all
briefs and one courtesy copy of any other document filed in support of any briefs (ie.,
appendices, exhibits, declarations, affidavits erc.). This provision also applies to papers filed
under seal.

8. Claim Construction Issue Identification, The parties submitted a Joint Claim
Construction Chart on July 12, 2017 and a Revised Final Joint Claim Construction Chart on
August 7, 2017.

9. Claim Construction Briefing. The parties submitted opening claim construction
briefs on August 9, 2017, and answering briefs on September 1, 2017.

10. Hearing on Claim Construction. On October 3, 2017, the Court heard argument

on claim construction.
Case 1:16-cv-00041-CFC Document 168 Filed 12/04/18 Page 4 of 9 PagelD #: 3566

11. Disclosure of Expert Testimony.

a. Expert Reports, For the party who has the initial burden of proof on the
subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony was served on
August 24, 2018. The supplemental disclosure to contradict or rebut evidence on the same matter
identified by another party was served on September 24, 2018. No other expert reports will be
permitted without either the consent of all parties or leave of the Court. Along with the
submissions of the expert reports, the parties shall advise of the dates and times of their experts’
availability for deposition. Depositions of experts were completed on November 2, 2018.

b. Objections to Expert Testimony. To the extent any objection to expert
testimony is made pursuant to the principles announced in Daubert v. Merrell Dow Pharm., Inc.,
509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be made by
motion no later than the deadline for dispositive motions set forth herein, unless otherwise
ordered by the Court.

12. Case Dispositive and Daubert Motions.

a. No early motions without leave. All case dispositive and Daubert motions, an
opening brief, and affidavits, if any, in support of the motion shall be served and filed on or
before December 14, 2018. Opposition briefs to motions due on or before January 11, 2019.
Reply briefs due on or before January 25, 2019. No case dispositive motion under Rule 56 may
be filed more than ten days before the above date without leave of the Court.

b. Word limits combined with Daubert motion word limits. Each party is
permitted to file as many case dispositive motions as desired; provided, however, that each SIDE
will be limited to a combined total of 10,000 words for all opening briefs, a combined total of

10,000 words for all answering briefs, and a combined total of 5,000 words for all reply briefs
Case 1:16-cv-00041-CFC Document 168 Filed 12/04/18 Page 5 of 9 PagelD #: 3567

regardless of the number of case dispositive motions that are filed, In the event that a party files,
in addition to a case dispositive motion, a Daubert motion to exclude or preclude all or any
portion of an expert’s testimony, the total amount of words permitted for all case dispositive and
Daubert motions shall be increased to 12,500 words for all opening briefs, 12,500 words for all
answering briefs, and 6,250 words for all reply briefs for each SIDE. The text for each brief shall
be 14-point and in a Times New Roman or similar typeface. Each brief must include a
certification by counsel that the brief complies with the type and number limitations set forth
above. The person who prepares the certification may rely on the word count of the word-
processing system used to prepare the brief.

c. Concise Statement of Facts Requirement. Any motion for summary judgment
shall be accompanied by a separate concise statement detailing each material fact as to which the
moving party contends that there are no genuine issues to be tried that are essential for the
Court’s determination of the summary judgment motion (not the entire case). Any party who
opposes the motion shall file and serve with its opposing papers a separate document containing
a single concise statement that admits or disputes the facts set forth in the moving party’s concise
statement, as well as sets forth all material facts as to which it is contended there exists a genuine
issue necessary to be litigated.

d. Focus of the Concise Statement. When preparing the separate concise
statement, a party shall reference only the material facts that are absolutely necessary for the
Court to determine the limited issues presented in the motion for summary judgment (and no
others), and each reference shall contain a citation to a particular affidavit, deposition, or other
document that supports the party’s interpretation of the material fact. Documents referenced in

the concise statement may, but need not, be filed in their entirety if a party concludes that the full
Case 1:16-cv-00041-CFC Document 168 Filed 12/04/18 Page 6 of 9 PagelD #: 3568

context would be helpful to the Court (e.g., a deposition miniscript with an index stating what
pages may contain key words may often be useful). The concise statement shall particularly
identify the page and portion of the page of the document referenced. The document referred to
shall have relevant portions highlighted or otherwise emphasized. The parties may extract and
highlight the relevant portions of each referenced document, but shall ensure that enough of a
document is attached to put the matter in context. If a party determines that an entire deposition
transcript should be submitted, the party should consider whether a miniscript would be
preferable to a full-size transcript. If an entire miniscript is submitted, the index of terms
appearing in the transcript must be included, if it exists, When multiple pages from a single
document are submitted, the pages shall be grouped in a single exhibit.

e. Word Limits for Concise Statement. The concise statement in support of or in

 

opposition to a motion for summary judgment shall be no longer than 1,500 words. The text for
each statement shall be 14-point and in Times New Roman or a similar typeface. Each statement
must include a certification by counsel that the statement complies with the type and number
limitations set forth above. The person who prepares the certification may rely on the word
count of the word-processing system used to prepare the statement.

f. Affidavits and Declarations, Affidavits or declarations setting forth facts

 

and/or authenticating exhibits, as well as exhibits themselves, shall be attached only to the
concise statement (i.e., not briefs).

g. Scope of Judicial Review. When resolving motions for summary judgment,
the Court shall have no independent duty to search and consider any part of the record not
otherwise referenced in the separate concise statements of the parties. Further, the Court shall

have no independent duty to review exhibits in their entirety, but rather will review only those
Case 1:16-cv-00041-CFC Document 168 Filed 12/04/18 Page 7 of 9 PagelD #: 3569

portions of the exhibits specifically identified in the concise statements. Material facts set forth
in the moving party’s concise statement will be deemed admitted unless controverted by a
separate concise statement of the opposing party.

13. Applications by Motion. Except as otherwise specified herein, any application to
the Court shall be by written motion. Any non-dispositive motion should contain the statement
required by Local Rule 7.1.1.

14. Pretrial Conference. On April 11, 2019, the Court will hold a Rule 16(e) final
pretrial conference in Court with counsel beginning at 4:00 p.m, The parties shall file a joint
proposed final pretrial order in compliance with Local Rule 16,3(c) no later than 5:00 p.m. on the
third business day before the date of the final pretrial conference. Unless otherwise ordered by
the Court, the parties shall comply with the timeframes set forth in Local Rule 16.3(d) for the
preparation of the proposed joint final pretrial order.

15, Motions in Limine.' Motions in limine shall not be separately filed. All in limine
requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall
be limited to three in imine requests, unless otherwise permitted by the Court. The in limine
request and any response shall contain the authorities relied upon; each in limine request may be
supported by a maximum of three pages of argument and may be opposed by a maximum of
three pages of argument, and the party making the in limine request may add a maximum of one
additional page in reply in support of its request. If more than one party is supporting or

opposing an in limine request, such support or opposition shall be combined in a single three-

 

} Pursuant to the Court’s orders at the November 27, 2018 conference, Plaintiffs may
submit a motion in limine on the estoppel effect of the °662 IPR with the case dispositive
motions filed on December 14, 2018.
Case 1:16-cv-00041-CFC Document 168 Filed 12/04/18 Page 8 of 9 PagelD #: 3570

page submission (and, if the moving party, a single one-page reply). No separate briefing shall be
submitted on in limine requests, unless otherwise permitted by the Court.

16. Compendium of Cases. A party may submit with any briefing two courtesy copies
of a compendium of the selected authorities on which the party would like the Court to focus.
The parties should not include in the compendium authorities for general principles or
uncontested points of law (e.g., the standards for summary judgment or claim construction). An
authority that is cited only once by a party generally should not be included in the compendium.
An authority already provided to the Court by another party should not be included in the
compendium.

17. Jury Instructions, Voir Dire and Special Verdict Forms. Where a case is to be tried
to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1, the parties should file (i) proposed voir
dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms
no later than 5:00 p.m. on the third business day before the date of the final pretrial conference.
The parties shall submit simultaneously with filing each of the foregoing four documents in
Word format to cfc_civil@ded.uscourts.gov.

18. Trial. This matter is scheduled for a 5-day jury trial beginning at 9:30 a.m. on
April 29, 2019 with the subsequent trial days beginning at 9:30 a.m. Until the case is submitted
to the jury for deliberations, the jury will be excused each day at 4:30 p.m. The trial will be
timed, as counsel will be allocated a total number of hours in which to present their respective

cases.
Case 1:16-cv-00041-CFC Document 168 Filed 12/04/18 Page 9 of 9 PagelD #: 3571

19, ADR Process. This matter has been referred to Magistrate Judge Mary Pat
Thynge to explore the possibility of alternative dispute resolution, which has been unsuccessful

after mediation between the parties on May 14, 2018.

Ch. f C4

UNITED STATES DISPRICT JUDGE
